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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF MARYLAND


 LESTER LEE
                                                   Case No. 8:24-cv-01205-TJS
       Plaintiff,

 vs.                                               MOTION FOR CLERK’S
                                                   CERTIFICATE OF DEFAULT
 BROOKSIDE PARK CONDOMINIUM,
 INC. METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY, AND CHARLES
 LAMONT SAVOY

                    Defendants.


        Plaintiff, Lester Lee, by and through undersigned counsel, that pursuant to

LAR(c)(3)(a)(i) notice has been given as required by personally serving Defendant Charles

Lamont Savoy on June 10, 2024 at 7606 Prentice Court, Fort Washington, Maryland 20744.

(ECF 28). The time to answer expired on July 8, 2024. No answer has been filed by Defendant

Savoy, and Defendant Savoy has not appeared, nor has anyone appeared to defend him on his

behalf. Defendant Lee has attached a proposed Clerk’s Certificate of Default and a Declaration

from Attorney Richard Rosenthal.

                                                     Respectfully Submitted,

                                                     /s/ Richard Rosenthal
                                                     RICHARD BRUCE ROSENTHAL
                                                     545 E. Jericho Turnpike
                                                     Huntington Station, NY 11746
                                                     (631) 629-8111 (telephone)
                                                     richard@thedoglawyer.com

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of July 2024, copies of the foregoing Motion to

Strike was served upon Defendants by operation of the Federal Court’s ECF system.
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                                      /s/ Richard Rosenthal
                                      RICHARD BRUCE ROSENTHAL




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